                              Case 23-11127-CTG                     Doc 1        Filed 08/09/23            Page 1 of 13

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            6211
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                             Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have            No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other _______________________________________________________________________________



                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor      _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                        Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                            50-99                               5,001-10,000                             50,001-100,000
     creditors
                                            100-199                             10,001-25,000                            More than 100,000
                                            200-999

                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets
                                            $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                            $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                          08/09/2023
                                            Executed on _________________
                                                        MM / DD / YYYY
                                               /s/ Paul-Henri Ferrand
                                             _____________________________________________               _______________________________________________
                                            Signature of authorized representative of debtor             Printed name


                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor      _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney                  /s/ Michael J. Merchant                                           08/09/2023
                                          _____________________________________________            Date       _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         _________________________________________________________________________________________________
                                         Printed name

                                         _________________________________________________________________________________________________
                                         Firm name

                                         _________________________________________________________________________________________________
                                         Number     Street

                                         ____________________________________________________            ____________ ______________________________
                                         City                                                            State        ZIP Code

                                         ____________________________________                            __________________________________________
                                         Contact phone                                                   Email address



                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                          )
 In re:                                                   )   Chapter 7
                                                          )
 BABYLON INC.                                             )   Case No. 23-[_____] (___)
                                                          )
                   Debtor.                                )
                                                          )

                             CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly own 10% or more of
any class of the debtor’s equity interest:

          Babylon Group Holdings Limited owns 100% of the equity interests of Babylon Inc.




RLF1 29411973v.1
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                                 RESOLUTIONS ADOPTED BY WRITTEN CONSENT
                                      OF THE BOARD OF DIRECTORS OF
                                              BABYLON INC.

                                                             August 7, 2023

                    The undersigned, constituting the sole member of the board of directors (the “Board”), of
            Babylon Inc., a Delaware corporation (the “Corporation”), acting pursuant to and in accordance
            with Section 141(f) of the General Corporation Law of the State of Delaware, does hereby consent
            to, adopt, and approve by written consent in accordance with applicable law, the following
            resolutions and each and every action effected thereby:

                     WHEREAS, after careful consideration of all facts and circumstances regarding the
            Corporation’s operational and financial affairs, and after consultation with management and the
            Corporation’s financial, legal, and other advisors, including numerous discussions regarding the
            liabilities and liquidity situation of the Corporation, the short-term and long-term prospects of the
            Corporation, the restructuring and strategic alternatives available to the Corporation, and the effect
            of the foregoing on the Corporation’s business and operations, the Board has determined that it is
            desirable and in the best interests of the Corporation that the Corporation file a voluntary petition
            for relief under chapter 7 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
            “Bankruptcy Code”), in the United States Bankruptcy Court for the District of Delaware (the
            “Petition”); and

                    WHEREAS, subject to the resolutions hereinafter set forth, the Board has determined that
            the Corporation does not have sufficient capital to continue its operations and the Board has
            therefore determined that it is in the best interests of the Corporation and the Corporation’s
            stakeholders, creditors, and other interested parties to terminate all employees of the Corporation
            and commence a case under the provisions of chapter 7 of the Bankruptcy Code.

            Commencement and Prosecution of Chapter 7 Case

                    NOW, THEREFORE, BE IT RESOLVED, that the form, terms and provisions of the
            Petition, be, and are hereby, approved; and be it further

                     RESOLVED, that the Corporation is hereby authorized to execute, deliver, perform and
            file the Petition; and be it further

                     RESOLVED, that the officers of the Corporation (each, an “Authorized Person” and
            collectively, the “Authorized Persons”) be, and each of them, acting alone or in any combination,
            hereby is, authorized, directed, and empowered, on behalf of and in the name of the Corporation
            (i) to execute and verify the Petition and all documents ancillary thereto, and to cause such Petition
            to be filed with the Bankruptcy Court commencing a case (a “Bankruptcy Case”), and to make
            or cause to be made prior to the execution thereof any modifications to such Petition or ancillary
            documents, (ii) to execute, verify, and file or cause to be filed all other petitions, schedules, lists,
            motions, applications, declarations, affidavits, and other papers or documents necessary,
            appropriate, or desirable in connection with the foregoing, and (iii) take or cause to be taken any
            and all such further actions on behalf of the Corporation as may be related or incidental to the


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            Petition, including, without limitation, executing and delivering any and all agreements,
            certificates, instruments and other documents and paying all expenses and fees, including filing
            fees, in each case as in such Authorized Person’s or Authorized Persons’ judgment shall be
            necessary or desirable to fully carry out the intent and accomplish the foregoing resolutions, such
            necessity or desirability to be evidenced conclusively by such actions; and be it further; and it is
            further

            Reduction in Force

                     RESOLVED, that, without limitation of any general authorizing resolution set forth herein,
            the officers of the Corporation are authorized and directed to notify any and all employees of the
            Corporation that their employment with the Corporation will be terminated in connection with the
            filing of the Petitions, including the provision of any and all notices that are required by law or
            otherwise deemed advisable, including under “WARN” or similar laws, rules, or regulations; and
            it is further

            Retention of Professionals

                     RESOLVED, that the Corporation be, and hereby is, authorized, empowered, and directed
            to retain the law firm Richards, Layton & Finger, P.A. to represent the Corporation as its general
            bankruptcy counsel on the terms set forth in such firm’s engagement letter, which engagement
            letter is hereby ratified and approved, and to represent and assist the Corporation in carrying out
            its duties under the Bankruptcy Code, and to take any and all actions to advance the Corporation’s
            rights and obligations, including, without limitation, the preparation of certain documents to be
            filed simultaneously with the Petition or during the chapter 7 cases and it is further

                    RESOLVED, that the Corporation be, and hereby is, authorized, empowered, and directed
            to retain the firm of Stretto, Inc., as claims and noticing agent on the terms set forth in such firm’s
            engagement letter, which engagement letter is hereby ratified and approved, to assist the
            Corporation in carrying out its duties under the Bankruptcy Code, including without limitation,
            the preparation of certain documents to be filed simultaneously with the Petition or during the
            chapter 7 cases and it is further

                    RESOLVED, that each Authorized Person be, and each hereby is, with power of
            delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
            motions, lists, applications, pleadings, and other papers and to take and perform any and all further
            acts and deeds that each of the Authorized Persons deems necessary, proper, or desirable in
            connection with the Corporation’s chapter 7 case, with a view to the successful prosecution of such
            cases; and it is further

                   RESOLVED, that each of the aforementioned retained advisors of the Corporation and
            Authorized Persons is hereby authorized to take any and all actions necessary or desirable to advise
            the Corporation’s rights and obligations and facilitate the commencement of any case commenced
            by the Corporation under the Bankruptcy Code, and it is further




            RLF1 29411289v.4
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                    RESOLVED, that any and all actions heretofore taken by any Authorized Person on behalf
            of the Corporation, with respect to the matters described in these resolutions be, and are hereby,
            authorized, approved, ratified and confirmed in all respects; and be it further

                   RESOLVED, that this Unanimous Written Consent may be executed by electronic
            signature and electronic transmission, including via DocuSign or other similar method.

                                                      [Signature page follows]




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                           IN WITNESS WHEREOF, the undersigned has executed this Unanimous Written
            Consent as of the date first written above.


                                                                BOARD OF DIRECTORS:




                                                                                      8/7/2023
                                                                ____________________________________
                                                                Paul-Henri Ferrand




                [Signature Page to Unanimous Written Consent of the Board of Directors of Babylon Inc.]

            RLF1 29411289v.4
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 Fill in this information to identify the case and this filing:


               Babylon Inc.
 Debtor Name __________________________________________________________________

                                                                               Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         
         X Other document that requires a declaration__________________________________________________________________________________
                                                      Corporate Ownership Statement



        I declare under penalty of perjury that the foregoing is true and correct.

                           08/09/2023
        Executed on ______________                                 /s/ Paul-Henri Ferrand
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                               Paul-Henri Ferrand
                                                                ________________________________________________________________________
                                                                Printed name
                                                               Director
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      United States Bankruptcy Court
                                                                    Delaware
                                        _______________ District Of _______________


In re     Babylon Inc.
                                                                                                Case No. ___________________

Debtor                                                                                                    7
                                                                                                Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                                125,000.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                       125,000.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                      0.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

            X Debtor                                 Other (specify)

3.   The source of compensation to be paid to me is:

            X Debtor                                 Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.
           8/9/2023                             /s/ Michael J. Merchant
           ______________________
           Date                                     Signature of Attorney

                                                 Richards, Layton & Finger, P.A.
                                                    Name of law firm
